










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






IN THE INTEREST OF:

Y.C.F., A MINOR CHILD.

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No. 08-09-00155-CV

Appeal from
383rd District Court

of El Paso County, Texas

(TC # 2003AG5989)



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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Eric Flores challenges multiple rulings by the trial court involving child custody and child
support obligations for his minor child, Y.C.F.   For the reasons that follow, we affirm.
FACTUAL SUMMARY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 24, 2004, the trial curt entered an order establishing a parent-child relationship with
Y.C.F. and Flores and setting terms of conservatorship and child support.  Appearing pro se, Flores
has unsuccessfully attempted to attack, change, or alter the order through a variety of legal channels,
including a suit to modify the order which generated a motion for new trial, a bill of exception, and
a bill of review.  
BRIEFING INSUFFICIENCY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Flores challenges the determination of his support obligation, including the calculation of
arrearages; and the trial court’s denial of his motion for new trial, bill of exception, and bill of
review.  A litigant proceeding pro se must comply with all applicable procedural rules.  Valadez v.
Avitia, 238 S.W.3d 843, 845 (Tex.App.--El Paso 2007, no pet.).  Otherwise, pro se litigants would
be granted an unfair advantage over litigants represented by counsel.  Id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A pro se litigant must properly present his case on appeal.  Id.  The Rules of Appellate
Procedure require that an appellant’s brief contain “a clear and concise argument for the contentions
made, with appropriate citations to authorities and to the record.”  Tex.R.App.P. 38.1(i).  Nothing
is presented for review when the appellate issue is unsupported by argument or lacks citation to the
record or legal authority.  Martinez v. El Paso County, 218 S.W.3d 841, 844 (Tex.App.--El Paso
2007, pet. stricken). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Flores has failed to provide record references and proper citations to authority.  Tex.R.App.P.
38.1.  As a result, he has provided no analysis, argument, or explanation in support of his
contentions.  We therefore overrule Flores’ complaints as inadequately briefed.  Id.; Velasquez v.
Waste Connections, Inc., 169 S.W.3d 432, 436 (Tex.App.--El Paso 2005, no pet.)(issue inadequately
briefed where argument did not contain any references to relevant cases or legal principles).  The
trial court’s judgment is affirmed.

August 24, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                         
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before Chew, C.J., McClure, and Rivera, JJ.


